                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA                        )
                                                 )
v.                                               )       Case No. 3:09-CR-79-009
                                                 )       Judge Jordan
 FRANCES MICHELLE RICHARDSON                     )

                          AGREED ORDER OF REVOCATION

        A Petition for Revocation of Supervised Release has been filed against the

 defendant, Frances Michelle Richardson, and the defendant admits that she has

 violated her supervised release as specified in violation numbers 1-3 in the petition. An

 agreement has been reached between the parties, recommending that Ms.

 Richardson's supervised release should be revoked and that she should receive a

 sentence of nine (9) months incarceration with twenty-seven (27) months supervised

 release to follow.

        Ms. Richardson agrees to waive her right to a hearing pursuant to Rule 32 of the

 Rules of Criminal Procedure, waive her right to allocute at a revocation hearing, and

 asks that the agreement of the defendant and the government pursuant to Rule 11 of

 the Federal Rules of Criminal Procedure be found to be a proper sentence.

        This Court has considered the Chapter Seven policy statements in the United

 States Sentencing Guidelines. The defendant's criminal history category is IV. The

 advisory guideline range is 6-12 months for "Grade C" violations and 12-18 months for

 "Grade B" violations and the Court has carefully considered those ranges. There is a

 statutory maximum of 24 months imprisonment which the Court has also considered.

 The Court has also considered the factors listed in 18 U.S.C. §3553(a).




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        Based on the foregoing, the Court finds that the recommended sentence is

 sufficient, but not greater than necessary, to accomplish the purposes set forth in 18

 U.S.C. §3553(a) while taking into consideration all of those factors and the Chapter

 Seven policy statements.

        IT IS HEREBY ORDERED, therefore, that the defendant's supervised release is

 hereby revoked. The defendant is hereby sentenced to a term of imprisonment of nine

 (9) months to be followed by twenty-seven (27) months supervised release. While on

 supervised release, Ms. Richardson shall abide by all standard conditions of supervised

 release and special conditions previously ordered. It is RECOMMENDED that the

 Bureau of Prisons designate Frances Michelle Richardson to the Bureau of Prisons

 facility in Alderson, West Virginia.



                                                        Honorable       on Jordan
                                                        United States District Judge

 APPROV'W FOR ENTRY:


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 Assistant U.S. Attorney




 A~mneyfor Defendant
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 Francis Michelle Richardson
 Defendant



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